                                                                                            -7.




                                                                                                                                      STATEMENT
                                                       Accounts Receivable                                                                REMIT PORTION
                                                       PO Box 7402
                 City ofSioux Falls                    Sioux Falls, SD 57117                          Statement Date                          01/31/2019
                SOUTH             DAKOTA               (605)367-8860
                                                       www.siouxfalls.org
                                                                                                      Customer Number                              2655




                                                                                                      Statement Total Due                       $115,82



              BRUCE, CHRISTOPHER
              701 8 DULUTH AVENUE # 1                                              •#Si:

              SIOUX FALLS, SD 57104




                                               DETACH AND RETURN THE PORTION ABOVE WITH YOUR PAYMENT

                                                Accounts Receivable

      %        City of Sioux Falls
                                                PO Box 7402
                                                Sioux Falls, SD 57117
               SOUTH          DAKOTA            (605) 367-8860
                                                www.siouxfalls.org

                                               CUSTOMER NUMBER                             STATEMENT DATE                           STATEMENT TOTAL DUE
CUSTOMER

                                                       2655                                   01/31/2019                                         $115.82
 BRUCE, CHRISTOPHER

                                                                Date: 01/22/2019                                                       Bill Number: 13932
Bill Description: MULTIMEDiA SUPPORT
       DETAIL DESCRIPTIO                        DATE          BILL AMOUNT         BILL ADJUSTED INTEREST DUE                  PAID        AMOUNT DUE
 .,    PER ORDINANCE 41.003(a) 14.5 HOURS     01/22/2019             $108.75               $0.00              $0.00           $0.00              $108.75
       AT $7.50 PER HOUR
 gg    SALES TAX - MULTIMEDIA SUPPORT -       01/22/2019              $7.07                $0.00              $0.00           $0.00                $7.07
       6.5%

                                            Bill Summary          $115.82                  $0.00              $0.00          $0.00              $115.82




                                                                         OVER 90 DAYS              INTEREST            OTHER FEES             TOTAL DUE
1 - 30 DAYS                31-60 DAYS         61 - 90 DAYS
 701 Duluth Avenue, Apartment #1                                     February 8th, 2019
Sioux Falls, South Dakota 57104

 Dear "Accounts Receivable", City of Sioux Falls, Inc.;

You know. It's still amazing to me that it took me a little over 50 years to realizejust how
moronic my Initial programming and indoctrination, of: "Just do what you're told to and don't
question authority." was, and finally broke out of it...after stupidly doing just that all my
life...and that it was the same authority that finally woke me out of that stupid phase of my life.
For 5 looooooooooong years, they've surely been wishing they had never heard of me,and had
never kicked me in the shins.

it also serves to amaze me,since that awakening,that some people are nearly dead....and they
STILL haven't broken out of that programming.

So I'm just going to put it this way....l know an awful lot about the "law." I know the premise of
the general scam that has been,for well over a century, utilizing the laws of COMMERCE;"fleece
the ignorant public for all you can, as much as possible, before they catch on and tell others."
That time has come and gone; and yet, here you are, still trying to grab alt you can. I would
imagine that you would figure out that it's as good as over by now,justfrom eyeing my blog {for
"Accounts Receivable" personnel,just Google "America's Deadly Sins". I come up the 2nd result;
the first is my old radio show);let alone all you see happening lately in the world,on the news,
and in the papers... but,since that's probably not nearly enough, I'll give you a bit of a wake-up
call.


Maybe the rest of this city's citizens are ignorant of this scam to date...but that will change as I'm
here, more and more. I just have to say it - y'all have had a good run....but it's just about over.
I've already designed a package that I fully intend to issue out,first, to my FORMER state; but
then to the rest of the country, via my new combo extractor/bulk email program. Just a little
backlash concerning its results, you may just see a rather sharp decline in your ability to collect
money on certain things...just saying. Included in this "mailing" may be a few items you
probably won't want known.

f am sure that this act of yours, mandated by the city's government, i.e., charging people again to
do the job you already get paid by the same people to do, via the avenue of an unlawrful and
unconstitutional local statute passed and enforced using color of law; a statute demanding
additional payments for information that should be free ANYWAY;an act that spits in the face of
the federal act(which, in case you didn't know,is ALSO issued utilizing FEDERAL color of law)
entitled "THE FREEDOM OF INFORMATION Aa"; where I have found NOTHING that encourages
local governments, when asked for this information,to then feel free to charge citizens
additional fees to recieve it; and as a result of MY request, doing so and charging me $115 for it -
even though pretty much NONE of the questions I asked for answers on were really answered
for me to anyone's satisfaction, nor were suggestions made to me where I could acquire those
                                                  1
answers disturbingly absent, namely, almost every question that concerned safety data and
safety concerns - will make a wonderful example.

This will be one bill you might want to misplace all record of. Should you choose to ignore this
suggestion, and should the fist of a single police officer even grace the shadow of my doorway, I
will have all responsible sued in federal court so fast it will make your head spin.

I'm sorry...I'm not sure why I just said that. I apologize. I mean, you're just doing the jobs you
were appointed to do, right? Tell you what...allow me to,just once, make good on only THIS bill
for you. Included is my payment, made in the form of the ONLY currency currently recognized,
by law, as LAWFUL U.S. tender; since congress unlawfully relinquished its power to print money
to international banks and bankers back in 1933; along with the legal paperwork your legal
department will need to recognize this payment to be legitimate. I now ask for a receipt marked
PAID, in the City of Sioux Falls letterhead,to be issued to me forthwith, via mail, at your earliest
convenience^


Thzmk vbu         urtim




  ristophe     inijiajp^the Lining IV^

STATE NATI     ifAL OF THEySTATE OF SOUTH DAKOTA
P.S., a cop7t>f4his-tef!er is also being sent prior to your receipt of it; to the city council,the
mayor,and all the local news and radio stations, via email.
 Being Duly deposed and Sworn, Affiant, autographed In Blue and sealed by thumb
 print in red ink below, states as follows:

 I can make no Payment on any debt or obligation to pay pursuant to costs,
 fees, any contract or fine, settlement, or order of the court, until the appropriate
 form of payment is clarified and defined by the payee or court, in consideration
 of the following adopted and incorporated herewith as my duly certified
 statement of presumed fact in Law:

 PREMISE OF LAW FIRSTLY

 THAT Neither paper currency nor deposits have value as commodities, as
 deposits are merely book entries, and it is still a Felony to tender these or any
 such substitute electronically or otherwise for lawful money in payment of any
 debt in all fifty states today including Texas, as Texas criminal law states "All
 recognizances, bail bonds & undertakings of any kind, whereby a party becomes
 bound to pay money to the State, & all fines & forfeitures of a pecuniary character
shall be collected In the lawful money[gold or silver] of the United States
only."(TEXAS Code of Criminal Procedure § 43.02).
THAT The Supreme Court has ruled that "Lawful Money of the United States
could only be gold & silver coin or that which by law is made its equivalent so
as to be exchangeable therefor at par, & on demand,& does NOT include a
currency which though nominally exchangeable for coin at its' face value, is
not redeemable on demand." Bronson v. Rhodes,74 U.S. 229,247,19 L. Ed.141.
 Checks, drafts, money orders & bank notes are not lawful money of the United
States. (State v. Mellon,73 Pac. 321,43 Ore. 168. Black's Law Dictionary 6th
Edition defines "Real money," as;"Money which has real metallic, intrinsic value as
distinguished from paper currency, checks & drafts."

PREMISE OF LAW SECONDLY

No state may make anything but gold or silver coin tender in payment of debts
(Article 1 sec 10, US Constitution, Public Law 103 of Dec. 24,1919 states :
only "gold certificates of the United States payable to bearer on demand shall
be and are legal tender in payment of all debts and dues, public and private."
However, No payment in gold or silver may be demanded in payment of any debt
or obligation because of government declared bankruptcy.(HJR 192; Executive
Orders 6073,6102,6111, and 6260, House Joint Resolution 192 of June 5,1933;
31 use 5112, 5119;12 USC 95a; confirmed in Perry v. U.S. 294 U.S. 330-381,79
LEd 912(1935))."No one is bound to do what is impossible."-(1 Bouv. Inst. n.
601. A I'impossible nul n'est tenu.)
  PREMISE OF LAW THIRDLY

  THAT The responsibility of coining gold and silver money was by the people ceded
  to Congress at Article I; §8, Clause 5, U.S. Constitution. It was certainly not within
  the enume^rated powers of Congressional authority in Law to transfer the issuing
  of Qoid and silver certificates, and ultimately suplanting United States Notes with
  ederal Reserve Notes,to the private Federal Reserve being a foreign power
 with respect to lawful government,as"Congress may not abdicate ['to give up.,
 renounce or relinqulsh...authoritles, dutles...powers, or responsibility]to transfer to
 others its legitimate [delegated]functions" Schechter Poultry v. U.S. 29 U S 49*^
 U.S. 837,842(1935);see footnote below:

 FOOT NOTE:66th Congress Sess. II Chapter 15,(December 24
 1919)-Public Law No. 103

 CHAP. 15-An Act to make gold certificates of the United States payable to
 bearer on demand legal tender.

  Be it enacted by the Senate and House of Representatives of the United States
 of America in Congress assembled,that gold certificates of the United States
 payable to bearer on demand shall be and are hereby made legal tender In
 payment of all debts and dues, public and private.
Gold Reserve Act of March 14,1900;[§3511]Sec. 2. That United States notes,
and Treasury notes issued under the Act of July 14,1890, when presented to
the Treasury for redemption, shall be redeemed in gold coin of the standard
fixed in the first section of this Act..."

No law makes Federal Reserve Notes Lawful Money Or Legal Tender, and
they do not meet either of these lawful requirements for legal tender for
the Citizens of the several states.

PREMISE OF LAW THE FOURTH

WHEREFORE "Giving a note does not constitute payment.."(Echart v
Commissioners, C.C.A. 42 F2d 158; 283 U. S. 140), and "The legal tender quality
of paper money Is only valuable for the purposes of dishonesty..." Knox v. Lee
(1871)," by agreeing to pay fines, court costs, or any other obligation or debt In
commerce or monetary exchange with any private party or public institution by
means of paper money... only valuable for the purpose of dishonesty," whether or
not intentionally, willfully, or knowlingly, having been under inducement,tricked,
or coerced by any criminal element corperate or private, or under color of law in
representation of government, into paying any debt, obligation, or fine, in anything
other than gold or silver, one would be as such, in law, either pressured, coerced
 and intimidated, or threatened under duress, drawn into by deceit, or conspiring
 with criminal intent,to engage in the crime of'COUNTERFEITING' and 'FORGERY,'
 being a felony, and so should and must respectfully decline any offer, and resist
 or reject any pressure to accept or succumb to any inducement to be drawn
 into contributing, aiding, or abetting, wether directly or indirectly, any manner of
 criminality, such as defined in and by law as 'forgery' and/or the 'counterfeiting'
 of money or value in any manner.

THAT when pressured to identify the form of money to be used to settle a
judgment,the 52nd 3rd Judicial District Court of Michigan, Honorable Justice
James P. Sheehy presiding, Ruled that "coffee beans" was money,storming
out of the court room shouting : "I don't care if you pay it in coffee beans just
so long as you pay it!"(Montgomery Wards v Eugene Glasure case #82-002087
(1982). The judge, as in many intentionally unpublished state and federal cases,
could not bring himself to violate the law in open court on record and declare
Federal Reserve Notes to be lawful or legal tender in payment of debts,(outside
exclusive federal territorial jurisdiction) so Glasure, a Michigan Native, payed the
settlement, court costs, and a few of his other debts, in "Coffee Beans," and still
carries a large sack of them around with him at all times down to this very day.

ASSERTION OF LOGICAL CONCLUSION BASED UPON PREMISE OF FACTS
ASSERTED AS CONTROLING LAW

"An argument is valid only if its conclusion follows logically from the
combination of its premises."

WHEREFORE the Defendant, Respondent, or Counter Petitioner can make no
payment on any fine, obligation or debt assessed pursuant to the terms and
conditions of any court order, contract, bill, invoice or obligation as such imposed
or assesed, until such time as specific clarification of the form of money and
appropriate tender in payment by the claimant, obligor. Opposing Counsel,
Attorney General, District Attorney, Prosecutor, or Court is made in amendment
to the same said bill. Order to pay, invoice, or demand for payment, as herewith
requested, in consideration of the forgoing facts in and at Law, and so requests
the same be made forethwit, in equity, faith and good conscience.

JUDICIAL NOTICE


"No person shall ever be imprisoned for debt." - Constitution of the State of Texas
Art. 1 § 18,1876."No man can give that which he has not...[nor that which he
can not be required to have,such as contraband Federal Reserve Bank Notes
counterfeited as money]."(Jackson v. Bradford,4 Wend.(N.Y.) 619)."Incarceration
to coerce bond is unconstitutional."(Pullman v. Allen,466 U.S. 522(1984))
RELIEF/ REMEDY/ MAINTENANCE CURRENTLY SOUGHT IN CLARIFICATION
OF TERMS AND CONDITIONS/NATURE AND CAUSE OF DEMANDS
AND ORDER FOR PAYMENT

WHEREFORE,the the Counter Petitioner requests the Court, his Honorable
Eminence and Excellency, employee of opposing counsel for the STATE,fictional
corporate client, direct and compel opposing counsel to clarify and identify in
writing for the record of these proceedings a suitable and acceptable form of
payment under law in amendment to and with respect to maintenance or child
support,fines assessed or obligations imposed by judgrhent or contract, pursuant
to any void and incomplete contract,judgment or settlement as a matter of Pub
lic Record, or void the contract, settlement, or order to pay that In fact already is;
nunc pro tune ab initio, the same being void for ambiguity and lack of clarification.

LET IT BE KNOWN TO ALL OF YOU through this Declaration, autographed in Blue
and sealed by thumb print in red ink below, not Induced by force or compelled
by fear, but of our own good and spontaneous will and by the common counsel
of our law,that we do not offer nor freely concede to contracts being brought
into existence in our name that Begin and End in fraud, predicated upon criminal
acts of counterfeit or forgery,these as such being the poison fruit of an accursed
tree, whereas as our rights, liberties and regalia; all of which things, as they have
been by us previously published to you, we wish to have perpetually valid and
firm; and we bind ourselves and our successors not to act counter to them, by
charter, fealty, demur, or concession. Legalese, legality, and Legalism,the science
practiced by attorneys at law in private for profit commercial courts, which by law
cannot be the acts of public institutions,thus masquerading as such illegitimately
in their legalese of fictions and ghosts without rights being the designations they
falsely assign and ascribe to the living, as apposed to being in the Law common
to nature and sense in reality, are by most religions taught to be engaging in
simple, black magic, witchcraft, and sophistry or double speak, demonic sorcery
originating with the father of deceit.

CERTIFICATE OF SERVICE


I the undersigned and above named do hereby Certify that a true and correct
copy of the foregoing was served upon opposing counsel by placing a true and
correct copy of the same in the United States mail, all postage paid, or by my owr
hand, notice to agent being notice to principle, on this the dav      ofther-O'
month,this the year of our Lord Two Thousand Nineteen, A.D.

ATTESTED VERIFICATION


In Witness, Whereof, knowing the law of bearing false witness before God and
Men,I solemnly affirm that I have read the foregoing and know the contents
thereof to be true and correct to the best of my own knowledge except those
matters which are therein stated based on my information or belief and as to
those matters I believe them to be true and will testify to these in the legal or
lawful court of any nation on earth before both Man and God so help me.

Dated this the         day of the               .month,this the year of our Lord
Two Thousand and Nineteen, A.D.

Christopher William, the Living Man
With QuLPretud ice


                         /^(M^\

                                    Witness



g\;iO;uh<L+r> rfWDric.T.ld.^
(Witness Name)


Published by Private Attorney Christopher William The Living Man - 2019



Last modified; 8:51 AM
                                                                                       IF PAYING BY CREDIT CARD, PLEASE FILL OUT BELOW
           P.O. BOX 881
                                                                                        ^□MASTERCARD ^^QVISA |[^G DISCOVER
                                                                                                                                          CW / CCV CODE
                                                                                       CARD NUMBER
           SIOUX FALLS, SD 57101-0881                                                                                                     3 digits on back of card
           RETURN SERVICE REQUESTED
                                                                                       SIGNATURE                                          EXP. DATE
                                                                                                                                                  /


           04/24/2019
                                                                                       ACCOUNT NUMBER

                                                                                          574129-01
                                                                                                     Amount Owedi^                              $120.90
                                                               Page 1 of 1
                 000395-001-001-000395-000000   5CD5A671 PAM                                SHOW AMOUNT PAID HEREli^
                                                                                       Phone:(       )                           Circie One: Landiine / Ceii Phone

                 CHRISTOPHER BRUCE                                                       By providing your number you authorize our office fo confacf the number
                 701 S DULUTH AVE #1                                                             provided using an aufomafic feiephone dialing system.
                 SIOUX FALLS SD 57104
                                                                                                                   REMITTO
                                                                                          AAA COLLECTIONS, INC.
                                                                                          P.O. BOX 881
                                                                                          SIOUX FALLS, SD 57101-0881




574129-01 AASU       **♦ pLEASE DETACH AND RETURN IN THE ENCLOSED ENVELOPE WITH YOUR PAYMENT
                                                                                                 Account#: 574129-01                       Date: 04/24/2019


 Dear CHRISTOPHER BRUCE,

 Your account with CITY OF SIOUX FALLS has been turned over to us for collection.

 Unless you notify this office within 30 days after receiving this notice that you dispute the validity of this debt or any
 portion thereof, this office will assume this debt is valid. If you notify this office within 30 days from receiving this
 notice that you dispute the validity of this debt or any portion thereof, this office will obtain verification of the debt or
 obtain a copy of a judgment and mail you a copy of such judgment or verification. If you request this office in
 writing within 30 days after receiving this notice this office will provide you with the name and address of the
  original creditor, if different from the current creditor.

  As of the date of this letter, you owe $120.90. Because of interest, late charges, and other charges that may vary
  from day to day, the amount due on the day you pay may be greater. Hence, if you pay the amount shown above,
  an adjustment may be necessary after we receive your check, in which event we will inform you before depositing
  the check for collection. For further information write the undersigned or call 1(877)215-3456. You will be charged
  $40.00 for returned checks.

  For further information write the undersigned or call 1(877)215-3456. You will be charged a $40.00 fee for a
  returned check.

  Sincerely,
  AAA COLLECTIONS, INC.

           THIS COMMUNICATION IS FROM A DEBT COLLECTOR. THIS IS AN ATTEMPT TO COLLECT
               A DEBT AND ANY INFORMATION OBTAINED WILL BE USED FOR THAT PURPOSE.
    Account Seq.          Account Name                                                                            Total

      01                  CITY OF SIOUX FALLS                                                                  $120.90
                          TOTAL                                                                               $120.90




                                                          Payment options include: paying online at payaaa.com
                                                 enclosing money order, cashier's check, personal check, or credit card.
 AAA COLLECTIONS, INC.                          3500 SOUTH FIRST AVE, STE 100, P.O. BOX 881        SIOUX FALLS, SD 57101-0881                   1(877)215-3456
  Comes now, Christopher William, of the Clan of Bruce, in his Affidavit of Truth

  To whom it may concern; if anything happens to me,then Wrongdoing May Have Been Done.

  i, Christopher William, born of the clan of Bruce, a living breathing man, am of very sound mind
 and very sound body. My cars and home are well maintained, i am in very good spirits and
 looking forward to a very long and rewarding life, i and others are involved in lawful actions of
  holding city, county,federal and state officials to the proverbial fire of upholding their Lawful
 Constitutional Oaths by means of Lawful Affidavits and Criminal Complaints containing
 abundant evidence charging them with Felonious Acts against the People of the Country and in
 placing Lawful Commercial Liens potentially worth billions of dollars on both their Surety Bonds
 and their personal assets, and further, seriously impacting the defendant's ability to hold any
 future office. Therefore, if "anything" happens to myself, I have an "accident" or go missing and
 end up dead; be it known here that i, Christopher William, of the clan of Bruce, did NOT commit
 suicide or have an "accident" and further, i am not careless with poisons, old food, toxins,
 flammables, firearms, nor have any known enemies, i am asking that if anything happens in the
 form of a negative or deadly event, even if it seems to fit well within the scope of what's
 "Normal", i seriously request that very capable and responsible persons with excellent skills and
 expertise, take a really good look into the Who's, What's, When's Where's Why's and How's of
 my demise; as it may in all likelihood be, in fact, a purposeful Act, There but for the Grace of
 God go \y i certify the foregoing is true, correct, complete and not misleading.to the best of my


.^^Jcnriffl^her William
 Christoprer William of thfe Clan of Bruce



 Witness



Witness HameC Wy r^hr              fDCjrTc
                                                       S(^r Tuff's
DATE: '-l-7>l-'ZO/^
                                                       CjI I ri                   cruca
  Dear AAA Collections.

 First of all, contrary to popular belief, the person who you sent this debt collection to is NOT
 CHRISTOPHER BRUCE (all caps;),a corporate fiction; this has not been my name for a minimum of4
 years. My name.In fact, is Christopher William of the Bruce Family, a living breathing man. Should you
 care to reissue me a letter that calls me by my actual name, you're welcome to address the alleged
 "debtor" in this matter.

 Payment was sent to and received by the "City of Sioux Falls, Inc." for this debt. I'm afraid that the
 status of this debt as it was presented to you by the "City of Sioux Falls, Inc. was presented to you
 fraudulently. Included with this letter will be a letter sent to the City of Sioux Falls, and also attached
 will be the paperwork presented; and these were sent, along with lawful payment(as it was thoroughly
 described to be in the Included paperwork),to the "The City of Sioux Falls, Inc.'s finance department a
 mere two days after I received the bill. I will also include a copy of the bill in question. I sent this ail to
 the Ci^ certified mail with return receipt and askel that a receipt be sent me by the city, marked "paid
 in full." Just because the City is run by morons who couldn't recognize lawful currency if it slapped them
 in the face,and they refuse to settle it with the payment they received, doesn't mean the matter was
 not settled.

I strongly suggest that you do as the City was told to do and scratch this bill from your records. Should
either of you contact me again in any way, I will initiate a lawsuit against you both (the attached notice
was also Issued to the mayor),to settle this matter once and for all. I'm sure a judge willsee things my
way. If he doesn't, well,there are higher courts with different opinions,surely...and each court that we
have to upgrade to will, naturally, require more remedy from you both in LAWFUL currency, upon
demand,to be paid by both you and "The City of Sioux Falls, inc." Please, make a note of it.
Most importantly,this bill occurred as a matter between "The City of Sioux Falls, Inc.", a corporate
fiction,and a iiving man,who they have no real consented to jurisdiction over,and,since there are no
signed or implied agreements between me,the "State of South Dakota, Inc. or "TTie City of Sioux Falls,
Inc." on record,they have no lawful OR legal means available in which they can force me to comply with
their corporate by-laws. Since those by-laws are not able to be enforced on me,you,as their collections
affiliate, also have no legal recourse to collect from me a debt that cannot rightfully be imposed against
me. The U.S. Supreme Court has made it quite clear that corporate fictions cannot affect living persons;
and they have perfectly identified these fictions as they appear to me,very accurately,as "Figments of
my imagination.".

Lastly,the date of this Invoice was 1/31/19,and payment was made around 2/2/19. So,in the eyes of a
court, any resulting action by you will more than likely result In a ruling in my favor;since The City of
Sioux Falls, Inc." has not returned my sent payment to me; nor did they, at any time,follow this bill up
with another request for payment, until I received a collections notice from your offices. This,then,
added to the amount of time that has passed since payment was made until it came to your attention,
could very well be legally construed or PRESUMED to mean that they did. In fact, accept the payment
made,then later on,changed their minds and tried to collect it, without further notification to me that
this bill was in any way still in need of paying.
I currently have a serious lull in my other federal appeal against 32 elected officials in Iowa,and,since
you are. In fact, as a collection agency, required to keep harassing me;due to these and other obvious
facts of life in the business of collections; I'm certain that you can expect thosie papers served to your
offices quite soon.




Rj^pectfmly,




   ristophdr William of the f^ily of Bruce,The Living Man


Enc. — Notice to cease and desist/Notice to initiate suit(Paul Tenhaken); Notice to cease and
desist/Intent to file suit, AAA COLLECTIONS; Legal paperwork identifying payment made to "The City of
Sioux Falls, Inc.", and Included letter, addressed certified mail with return receipt to "The City of Sioux
Falls, Inc." on February 2"'', 2019,along with lawfully identified U.S. currency in the form of coffee beans,
at a rate of 1 bean per dollar.
        NOTICE TO AAA COLLECTIONS WITH INTENT TO FILE SUIT/NOTICE TO CEASE AND DESIST


i, Christopher William, a living breathing man, do hereby serve notice to AAA COLLECTIONS, LLC that I
fully intend to file suit against them in Civil District Court,to proceed immediately,should a receipt
marked paid in full not be issued me within 10 business days of this notice made,for the bill of $115.82,
issued me on 1/31/19 for "Multi-Media Support." This notice is aiso intended to serve as a notice to
CEASE AND DESIST ail communications with me that demand payment.
   1. The bill was paid to "The City of Sioux Falls, inc." in lawfuiiy identified U.S. Currency, 2 days
      following the receipt of said bill, and was sent certified mail with return receipt to the address
       belonging to The City of Sioux Falls", a corporate fiction, and was received by the same.
       Regardless of the payment i opted to make, A corporate fiction may not affect a living breathing
       man (USC)in any manner of legality, i.e., by imposing upon him a Statute of some unconsented
       to local law, which is utilizing color of law of the same; as I am not "U.S. citizen" or "resident" of
       the incorporate fictions of either "The City of Sioux Falls, Inc." or "The State of South Dakota
       Inc.; nor subject to the corporate bylaws of either; I am,instead, a state citizen of the territory
       of South Dakota, the State, and an individual living man,in full possession of my inalienable and
       natural rights; nor do I qualify or fall subject under any assumed or presumed jurisdiction of the
       Corporate fictions,"The City of Sioux Falls, Inc.", or'The State of South Dakota, Inc."

   2. Attached to this payment was an affidavit, which also rationalized the method of the payment
       made,and why "Payment" of the biil, using the alternative manner required by the "City of
      Sioux Falls, Inc.," using iegally accepted debt notes or bank entries representing the same
      (FRN s), is unlawful. It was signed in blue ink, with red thumbprint, and properly witnessed.
      Along with this payment was a letter to the finance department of the stated corporate fiction,
       which more than presented good common sense as to why this bill shouldn't have even existed
       to begin with. Even if the interaction between the Corporate fiction named on the biii and this
      living man has the ability to be legally construed to be an agreement, or fall under the laws of
      commerce, the terms were violated, since none to very little answer to the FOIA request was
      provided the customer in question, nor was there any attempt to direct the customer to where
      he could find that ridiculously high percentage of the unprovided answers to his questions;
      which, in essence, nullifies the contract; due to non-performance of the terms of that implied
      contract by'The City of Sioux Faiis, inc."

  3. Upon receipt of this iawfui payment for non-itemized services, 12 pages of paper (at 10 cents a
     page)and 12 or so files on a cheap generic thumb drive at the pre-consented to rate of
      evidently, 15 hours of "Records Searching (Multi-Media Support,they call it), they simply
      ignored it and sent the biii to you to coiiect it in the form of somehow legally accepted "U.S.
      Currency, fraudulent and counterfeited pieces of paper or via electronic representation of the
      same; that denote "DEBT;" printed by non-governmental private services corporations that have
      no vested or granted authority to print what they deem to be "Money" for those of these
      United States.
r




    4. Paul Tenhaken has also been noticed as you have, in kind. Suit will ensue after the grace period
       I gave him of ten days following receipt of his notice.


Let it also be noticed that the damages I will seek will far exceed any amount you are intending to extort
from me, and these damage requests will grow exponentially each time an appeal is necessary.
i, Christopher William, a living man,do swear that all of the above is the truth, to the best of my
knowledge, and do attest the same, in full acknowledgement and recognition of the penalty of perjury.




Noticp^oT[gBnt4s.notice to principal,

    rightsjnpserved, without prejudice




ChristoplheryVilliam^^ clan of Bruce, a living man.

Witness Signature

Witness Name


Date: O ~ 2^~                1^
r'3U


            NOTICE TO PAUL TENHAKEN WITH INTENT TO FILE SUIT/NOTICE TO CEASE AND DESIST


i, Christopher William, a living breathing man, do hereby serve notice to Paul Tenhaken that I fully
intend to file suit against him in his individual capacity in Civil District Court, to proceed immediately,
should a receipt marked paid in full not be issued me within 10 business days of this notice made,for
the bill of $115.82, issued me on 1/31/19 for "Multi-Media Support." This notice is also intended to
serve as a notice to CEASE AND DESIST all communications with me that demand payment.
       1. The bill was paid to "The City of Sioux Falls, Inc." in lawfully identified U.S. Currency, 2 days
          following the receipt of said bill, and was sent certified mail with return receipt to the address
          belonging to'The City of Sioux Fails", a corporate fiction, and was received by the same.
          Regardless of the payment i opted to make, A corporate fiction may not affect a living breathing
           man (USC)in any manner of legality, i.e., by imposing upon him a Statute of some unconsented
           to local law, which is utilizing color of law of the same; as I am not "U.S. citizen" or "resident" of
           the incorporate fictions of either 'The City of Sioux Falls, Inc." or'The State of South Dakota
           Inc.;" nor subject to the corporate bylaws of either; I am,instead, a state citizen of the territory
           of South Dakota, the State, and an individual living man, in full possession of my inalienable and
           natural rights; nor do I qualify or fall subject under any assumed or presumed jurisdiction of the
          Corporate fictions,'The City of Sioux Falls, Inc.", or "The State of South Dakota, Inc."

       2. Attached to this payment was an affidavit, which also rationalized the method of the payment
          made, and why "Payment" of the bill, using the alternative manner required by the "City of
          Sioux Falls, Inc.," using legally accepted debt notes or bank entries representing the same
          (FRN's), is unlawful. It was signed in blue ink, with red thumbprint, and properly witnessed.
          Along with this payment was a letter to the finance department of the stated corporate fiction,
          which more than presented good common sense as to why this bill shouldn't have even existed
          to begin with. Even if the interaction between the Corporate fiction named on the bill and this
          living man has the ability to be legally construed to be an agreement, or fall under the laws of
          commerce, the terms were violated, since none to very little answer to the FOIA request was
          provided the customer in question, nor was there any attempt to direct the customer to where
          he could find that ridiculously high percentage of the unprovided answers to his questions;
          which, in essence, nullifies the contract; due to non-performance of the terms of that implied
          contract by'The City of Sioux Falls, Inc."

   3. Since Mr.Tenhaken presents as the head of this corporate fiction, and is, more than likely, the
      administrator/enforcer of whatever statute he intends to state that I have violated by not
      paying this improper bill, it will be him alone that I will seek damages from. Mr. Tenhaken has
      also involved AAA Collections for the purpose of extorting this money from me,and they will
          also be named in the suit; as I am not the person named in the collection attempt, sent to my
          current address; and since they have made it clear that they intend to legally enforce this
          collection as well. They will also be noticed as you have, in kind.
Let it also be noticed that the damages I wiii seek will far exceed any amount you are intending to extort
from me,and these damage requests wiii grow exponentially each time an appeal is necessary.
i, Christopher William, a living man,do swear that ail of the above is the truth, to the best of my
knowledge, and do attest the same,in full acknowledgement and recognition of the penalty of perjury.




Notice to agent is notice to principal.

Ail rigi)t$Cci^!ved, without prejudice




          ^ William, of tlje clan of Bruce, a living man.


Witne^^ignature                 hlr/R\ ^a/7A/r
Witn^ss-fetatne                    mniriC.CJr^n Cif               jr r                     Vj^Gm(Un
Date: M "" 7 U~ ZOl^
"SiUi Ourv'S
